Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 1 of 12 PageID #: 1
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 2 of 12 PageID #: 2
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 3 of 12 PageID #: 3
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 4 of 12 PageID #: 4
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 5 of 12 PageID #: 5
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 6 of 12 PageID #: 6
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 7 of 12 PageID #: 7
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 8 of 12 PageID #: 8
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 9 of 12 PageID #: 9
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 10 of 12 PageID #: 10
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 11 of 12 PageID #: 11
Case 1:20-cv-00133-CLC-CHS Document 1 Filed 05/27/20 Page 12 of 12 PageID #: 12
